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UNITED sTATEs DISTRICT cooper ' -_.. D.C.
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MICHAEL LUSTER,
Pl aint i f f ,

v. Case Nb. 03-2244-Ma

ML TENNESSEE AP.A.RTMENTS LP,
et al.,

Defendants.

JUDGMENT

This action came on for trial before the Court and a jury on
May 23, 2005, the Honorable Samuel H. Mays, Jr., U.S. District
Judge, presiding;

On June l, 2005, after due deliberation and consideration of
the proof presented, the jury returned a verdict as follows:

That defendants ML Tennessee Apartments and Equity
Residential Properties Management Corporation were
negligent and that said negligence was a legal cause of
plaintiff Michael Luster's claimed injuries and losses.

That plaintiff Michael Luster Was negligent and that
aid negligence Was a legal cause of plaintiff Michael
Luster's claimed injuries and losses.

That the percentage of fault attributed was forty-five
(45%) percent as to plaintiff Michael Luster and fifty-five
(55%) percent as to defendants ML Tennessee Apartments and
Equity Residential Properties Management Corporation.

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That the total amount of damages sustained by
plaintiff Michael Luster is $2,500,000.00.

APPROVB :ML

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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DATE

 

UNITED`TATES ISTRIC COURT - WESERNT DISITRC oFTENNESSEE

     

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Thomas M. Gould

U.S. DISTRICT COURT
242 Federal Bldg.

167 No. Main St.
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Honorable Samuel Mays
US DISTRICT COURT

